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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA

ETDO PRODUCTIONS LLC                                     CIVIL ACTION

VERSUS                                                   NO. 19-13184

ALFREDO CRUZ, ET AL                                      SECTION "B"(3)
                                   ORDER

     Parties   have    completed    evidentiary   presentations   in     the

recently concluded bench trial. All that remains is oral argument

and ruling.    Accordingly,

     IT IS ORDERED THAT:

     1. No later than Friday, November 13, 2020 all parties shall

         submit post-trial memoranda on factual and legal issues;

     2. No later than Friday, November 20, 2020 all parties shall

         submit replies to post-trial memoranda; and

     3. Closing arguments shall be received on Thursday, December

         3, 2020 at 2:00 p.m. via ZoomGov video. The connection link

         will be sent by the court no later than Monday, November

         30, 2020.

  New Orleans, Louisiana, this 29th day of October 2020



                                   ___________________________________
                                   SENIOR UNITED STATES DISTRICT JUDGE
